         Case 1:21-cv-00057-SPW-TJC Document 7 Filed 05/25/21 Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MONTANA
                                BILLINGS DIVISION

DENNIS FRIEDT,                                        Cause Nos. CV 21-06-BLG-SPW
                                                                 CV-21-057-BLG-SPW-TJC
                 Petitioner,

          vs.                                                          ORDER

STATE OF MONTANA,

          Respondent.
_____________________________

DENNIS FRIEDT,

                 Petitioner,

          vs.

SUSAN KLOOS, et al.,

                 Respondents.


          These matters come before the Court on Plaintiff Dennis Friedt’s civil rights

complaints filed pursuant to 42 U.S.C. § 1983. Friedt is a state prisoner

proceeding pro se.

          On May 24, 2021, Friedt file a Motion to Dismiss in Cause No. CV-21-06-

BLG-SPW. See, (Doc. 13.) Friedt explains he is seeking voluntary dismissal so

that he may focus on his federal habeas petition,1 in addition to matters he


1
    Mr. Friedt does have an active habeas corpus petition pending. See, Friedt v. Bludworth et al.,
                                                  1
      Case 1:21-cv-00057-SPW-TJC Document 7 Filed 05/25/21 Page 2 of 2



currently has pending in the state courts. Id. at 1-3. Mr. Friedt also indicates his

intention to dismiss “all the 42 U.S.C. § 1983 lawsuits” pending before this Court,

including the “Shelby Prison” case which he “just applied for.” Id. at 1, 3. Thus, it

appears Mr. Friedt is referencing his recently filed § 1983 complaint in Friedt v.

Kloos, et al., Cause No. CV-21-57-BLG-SPW-TJC (filed May 11, 2021).

      Federal Rule of Civil Procedure 41(a)(1)(A)(i) provides an avenue for

voluntary dismissal. Accordingly, Friedt’s Motion to Dismiss his pending §1983

complaints (Doc. 13) is GRANTED. Both of the above-referenced matters are

DISMISSED without prejudice pursuant to Fed. R. Civ. P. 41(a)(1)(B). The

Clerk of Court is directed to close both cases.

      DATED this 25th day of May, 2021.


                                        /s/ Susan P. Watters
                                        Susan P. Watters
                                        United States District Court Judge




Cause No. CV-21-48-BLG-SPW-TJC, Pet. (filed May 4, 2021).
                                          2
